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            Federal government websites often end in                                   The https:// ensures that you are connecting
            .gov or .mil. Before sharing sensitive                                     to the official website and that any
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   ICE       FACT SHEETS


   Protected Areas and Courthouse Arrests


    AUGUST 8, 2023




    Protected Areas Enforcement Actions

    The Department of Homeland Security (DHS) issued a memorandum — Guidelines for Enforcement Actions
    In or Near Protected Areas — instructing officers to refrain from taking enforcement actions at or near
    locations or protected areas in October 2021. This policy is part of DHS’s effort to avoid restricting people’s
    access to essential services or engagement in essential activities.




    Protected Areas
    Protected areas are locations that provide essential services or activities. When determining if a location is
    a protected area, DHS considers the activities that take place there, the importance of those activities to
    the well-being of people and the communities of which they are a part and the impact an enforcement
    action would have on people’s willingness to be in the protected area and receive or engage in the essential
    services or activities that occur there. It is a determination that requires the exercise of judgment.

    Examples of protected areas include, but are not limited to:
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            Schools;
            Medical or mental healthcare facilities;
            Places of worship or religious studies;
            Places where children gather;
            Social services establishments;
            Places where disaster or emergency response/relief is provided;
            Places where funerals, graveside ceremonies, rosaries, weddings, or other religious or civil
            ceremonies or observances occur; and
            Places where there are ongoing parades, demonstrations, or rallies.




    Enforcement Actions Within the Scope of the
    Protected Areas Memorandum
    Enforcement actions that are within the scope of this guidance include, but are not limited to, such actions
    as arrests, civil apprehensions, searches, inspections, seizures, the service of charging documents or
    subpoenas, interviews and immigration enforcement surveillance.




    Exceptions and Limitations on Scope
    There might be limited circumstances under which an enforcement action needs to be taken in or near a
    protected area. The following are some examples of such limited circumstances:

            The enforcement action involves a national security threat;
            There is an imminent risk of death, violence, or physical harm to a person;
            The enforcement action involves the hot pursuit of an individual who poses a public safety threat;
            The enforcement action involves the hot pursuit of a personally observed border crosser;
            There is an imminent risk that evidence material to a criminal case will be destroyed; or
            A safe alternative location — a location deemed safe for DHS personnel, the subject of the
            enforcement action, and the public — does not exist.

    The memorandum does not limit ICE’s or employee’s statutory authority, and DHS does not tolerate
    violations of law in or near a protected area.

    Absent exigent circumstances, DHS officers and agents must seek prior approval from their agency’s
    headquarters or an authorized delegate before taking an enforcement action in or near a protected area. To
    the fullest extent possible, any enforcement actions in or near a protected area should be taken in a non-
    public area, outside of public view, and to eliminate or minimize the chance that the enforcement action
    will prevent people from accessing the protected area.



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    If DHS officers and agents take enforcement actions that are believed to be in violation of the protected
    areas policy, a complaint may be filed through one of the following channels:

         ICE
         (888) 351-4024
         ERO.INFO@ice.dhs.gov
         Website
         CBP
         (877) 227-5511
         Website
         Office of the Inspector General
         (800) 323-8603
         Website
         DHS Office for Civil Rights and Civil Liberties
         (866) 644-8360
         CRCLCompliance@hq.dhs.gov




    Courthouses
    Courthouses do not fall under ICE policies concerning enforcement actions in or near protected areas. To
    clarify policy on civil immigration enforcement actions related to courthouses, in April 2021, ICE and CBP
    jointly issued a memorandum — Civil Immigration Enforcement Actions In or Near Courthouses.

    The Civil Immigration Enforcement Actions In or Near Courthouses provides ICE and CBP officers with
    guidance as to when and how civil immigration law enforcement action can be executed in or near a
    courthouse so as not to unnecessarily impinge upon the core principle of preserving access to justice.

    To uphold the rule of law, DHS ensures that courthouses are open to all people — regardless of citizenship.
    As a result, this memorandum provides guidance on when and how civil immigration law enforcement
    actions may be executed in or near a courthouse.

    This memorandum does not apply to criminal immigration enforcement actions. A courthouse includes
    any municipal, county, state, federal, tribal, or territorial courthouse, including immigration courts. "Near"
    the courthouse means in the close vicinity of the courthouse, including the entrance and exit of a
    courthouse, and in adjoining or related areas such as an adjacent parking lot or transportation point (such
    as a bus stop right outside a courthouse). It does not include adjacent buildings or houses that are not part
    of the courthouse or otherwise are not used for court-related business.



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    When Enforcement Actions May Be Taken
    Civil immigration law enforcement actions at courthouses will only be executed in limited circumstances
    against public safety threats. Namely, civil immigration enforcement actions may be taken in or near
    courthouses if:

            It involves a national security threat;
            There is imminent risk of death, violence, or physical harm to any person;
            It involves the pursuit of an individual who poses a threat to public safety; and
            There is an imminent risk of destruction of evidence material to a criminal case.

    In the absence of a hot pursuit, a civil immigration enforcement action may be taken in or near a
    courthouse against individuals who pose threats to public safety if:

            It is necessary to act in or near the courthouse because a safe alternative location does not exist or
            would be too difficult to achieve the enforcement action at such a location; or
            The action has been approved in advance by a Field Office Director, Special Agent in Charge, Chief
            Patrol Agent, or Port Director approval in advance of the enforcement action


    Enforcement and Removal

        287(g)


        Delegation of Immigration Authority Section 287(g) Immigration and Nationality Act
        Allows a state and local law enforcement entity to enter into a partnership with ICE, under a
        joint MOA to receive delegated authority.

        Updated Facts on ICE's 287(g) Program
        In 2009, ICE revised the 287(g) delegated authority program.



        Detention Oversight


        Family Residential Standards
        ERO opened the Berks Family Residential Center to accommodate noncitizen families in ICE
        custody.

        South Texas Family Residential Center


https://web.archive.org/web/20230809104543/https://www.ice.gov/factsheets/protected-areas-courthouse-arrests                    4/10
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        The South Texas Family Residential Center (STFRC) is located in Dilley, TX.



        Enforcement and Removal Operations


        Case examples: ICE operations targeting criminal noncitizens
        Data captured from July 13 to Aug. 20, 2020, shows that ICE officers arrested more than 2,000
        at-large individuals living illegally in the U.S.

        ICE Air Operations
        IAO is ICE’s primary air transportation division.

        ICE Detention Standards
        ICE continuously revises its detention standards as needed.

        Locating Individuals in Detention
        ODLS allows family members, legal representatives, and members of the public to locate
        individuals who are detained by ICE.

        Migrant Protection Protocols (MPP)
        These memorandums provide guidance to U.S. Immigration and Customs Enforcement about
        its role in the implementation of the MPP.

        Parole of Arriving Aliens Found to Have Credible Fear of Persecution or Torture
        Noncitizens who arrive in the US at a POE and are found to have a credible fear of persecution
        or torture will automatically be considered for parole.

        Protected Areas and Courthouse Arrests
        This policy is part of DHS’s effort to avoid restricting people’s access to essential services or
        engagement in essential activities.

        Using a Victim-Centered Approach with Noncitizen Crime Victims
        Q&A: Using a Victim-Centered Approach with Noncitizen Crime Victims




    Homeland Security Investigations



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        Financial Crimes/Cornerstone


        Operation Firewall
        Targets the full array of methods used to smuggle bulk cash.



        Human Smuggling & Trafficking Unit


        "Operation In Plain Sight" - Targeting Arizona Smuggling Organizations
        'Operation In Plain Sight', named as such because of the brazen nature of the transportation
        companies' activities

        DHS Blue Campaign
        ICE continues to enhance its TIP Strategy and plays a key role in DHS's anti-human trafficking
        initiative, the Blue Campaign.

        Human Trafficking and Smuggling
        The US is a destination country for thousands of men, women, and children trafficked from all
        areas of the world.



        Labor Exploitation


        Form I-9 Inspection
        The Immigration Reform and Control Act designates the I-9 form as the means of verifying
        identity and employment eligibility.



        Law Enforcement Officer Mission Support


        Immigration and Customs Enforcement Pattern Analysis and Information Collection
        System (ICEPIC)
        ICEPIC helps to identify suspicious identities and discovers possible non-obvious relationships
        among individuals and organizations.




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        National Intellectual Property Rights (IPR) Coordination Center


        Homeland Security Investigations at Super Bowl LV
        HSI personnel will be on the front lines of the interagency effort to mitigate the threat posed by
        criminal organizations seeking to exploit and profit from criminal activity conducted in and
        around the Super Bowl - from the identification and seizure of counterfeit goods to enhanced
        efforts to counter human trafficking.

        Intellectual Property Right Theft Enforcement Teams
        IPTETs build on the investigative best practices identified by the IPR Center

        National Intellectual Property Rights Coordination Center
        The IPR Center stops predatory and unfair trade practices that threaten the global economy.

        Operation Apothecary
        Combats pharmaceutical smuggling

        Operation Guardian
        Combats the importation of substandard tainted, and counterfeit products that pose health
        and safety risks to consumers

        Operation In Our Sites
        The IPR Center and its partner agencies aggressively pursue those who steal from American
        businesses and workers.

        Operation Pangea
        Uses enforcement actions to raise awareness of the dangers posed by counterfeit medicines
        and medical devices being sold on the Internet

        Outreach & Training
        IPR Center's Outreach & Training Unit engages in partnerships to combat IP theft through it's
        Operation Joint Venture initiative

        Tracing the Counterfeit Shoe Market
        Despite international efforts to stop counterfeiting, a lack of consumer knowledge and the
        increase of online shopping gives crooks more ways than ever to dupe unsuspecting
        individuals out of jobs, profits and the health and safety of their families.




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        National Security


        Counter-Proliferation Investigations
        Notable ICE Counter-Proliferation Investigations Cases

        Terrorism-Related Threats and ICE's Authority
        Success Stories – ICE uses Immigration and Customs Authorities to Address National Security
        threats.



        Operation Predator


        Operation Predator - Targeting child exploitation and sexual crimes
        Each year, millions of children fall prey to sexual predators.



        Smuggling - Arms, Contraband, Cultural Artifacts


        Cultural Property, Art and Antiquities (CPAA) Investigations
        ICE works with experts to authenticate items, determine their true ownership and return them
        to their countries of origin.

        ICE Shadow Wolves
        A tactical patrol unit based on the Tohono O’odham Nation in southern Arizona

        In-Bond Merchandise Diversion Smuggling
        In-bond smuggling occurs when someone knowingly avoids paying lawful customs charges or
        duties on imported or exported merchandise.

        World War II Cultural Property Cases
        Stolen art, looted antiquities, fraudulently acquired artifacts – these are the little known
        casualties of war.



        Student Exchange and Visitor Program


        F and M Student Record Termination Reasons in SEVIS

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        This job aid is a quick-reference for termination reasons noted in SEVIS.




    Management and Administration

        Chief Financial Officer - Management and Budget


        Budget - Fiscal Year 2005
        Budget - Fiscal Year 2005

        Budget - Fiscal Year 2006
        Budget - Fiscal Year 2006

        Budget - Fiscal Year 2007
        Budget - Fiscal Year 2007

        Budget - Fiscal Year 2008
        Budget - Fiscal Year 2008

        Budget - Fiscal Year 2009
        Budget - Fiscal Year 2009

        Budget - Fiscal Year 2010
        ICE's Fiscal Year 2010 budget figures in key categories

        ICE Fiscal Year (FY) 2011 Enacted Budget
        ICE Fiscal Year (FY) 2011 Enacted Budget

        ICE Fiscal Year (FY) 2012 Enacted Budget
        ICE Fiscal Year (FY) 2012 Enacted Budget



        Office of Human Capital - Careers


        Student Volunteer Program
        The Student Volunteer Program offers unpaid, professional training opportunities to
        undergraduate and graduate college students.



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